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  MSE:
  AO 91 (Rev. 11/11) Criminal Complaint                                                           2020R00251


                                UNITED STATES DISTRICT COURT
                                                     for the
                                              District of Minnesota

 UNITED STATES OF AMERICA

                   v.
                                                           Case No. 20-mj-365 HB
 (1) MCKENZY ANN DEGIDIO DUNN
 (2) BAILEY MARIE BALDUS

                                          CRIMINAL COMPLAINT
     I, the undersigned complainant, being duly sworn, state the following is true and correct to the best of

my knowledge and belief. On or about May 28, 2020, in St. Paul, in the State and District of Minnesota, the

defendants MCKENZV ANN DEGIDIO DUNN and BAILEY MARIE BALDUS conspired with Samuel Elliott

Frey and Co-Conspirator CF to commit arson on property used in interstate commerce, in violation of Title

18, United States Code, 844(i), all in violation of Title 18, United States Code, Section 371.

     I further state that I am an ATF Special Agent and that this complaint is based on the following facts:

     SEE ATTACHED AFFIDAVIT
                                                                          ✓
                                                                           M
Continued on the attached sheet and made a part hereof
                                                          Z.

                                                                       Complainant's signature
SUBSCRIBED and SWORN before me
by reliable electronic means (FaceTime and email)         Laura Gulick, ATF Special Agent
pursuant to Fed. R. Crim. P. 41(d)(3).                                 Prlnted name and title


Date:     June 8, 2020                               �ldd4 .�•02                                               -----   e
                                                                         f Judge's Signature
City and State:           St. Paul, MN                  The Honorable Hildy Bowbeer
                                                        United States Magistrate Judge
                                                                         Printed Name and Title
